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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No.

ROCKY MOUNTAIN GUN OWNERS, and
ALICIA GARCIA,

      Plaintiffs,

v.

JARED S. POLIS, in his official capacity as Governor of the State of Colorado

      Defendant.

________________________________________________________________________

                   DECLARATION OF TAYLOR RHODES
________________________________________________________________________

      1.     My name is Taylor Rhodes. I am over the age of 21 and have personal

knowledge of the matters set forth in this Declaration.

      2.     I am the Executive Director of Plaintiff Rocky Mountain Gun Owners

(“RMGO”).

      3.     RMGO is a nonprofit organization. RMGO seeks to defend the right of

all law-abiding individuals to keep and bear arms. RMGO has members who reside

in Colorado who desire to exercise their Second Amendment right to purchase a

firearm without having their right burdened by arbitrary, unnecessary, burdensome

and useless delays. RMGO represents the interests of these members. Specifically,

RMGO represents the interests of those members who are affected by C.R.S. § 18–

12–115 (the “Waiting Period Act”), in particular, the Waiting Period Act’s




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unconstitutional burden on the Second Amendment rights of law-abiding citizen who

purchase firearms.

      4.     It is these members’ present intention and desire to lawfully purchase

firearms for lawful purposes, including self-defense in their home, and they desire to

do so without arbitrary, unnecessary, burdensome and useless delays. These

members are precluded from purchasing a firearm without arbitrary, unnecessary,

burdensome and useless delays by HB23-1219. The following three persons (whom,

for the sake of their privacy, are identified by initials) have or will suffer the harm

described above: B.R., J.H., and S.H.

      I, Taylor Rhodes, pursuant to 28 U.S.C. § 1746, declare under penalty of

perjury that I have reviewed the foregoing, that I am competent to testify in this

matter, and that the facts contained therein are true and correct.


_________________________________
Taylor Rhodes
Date: October 1, 2023




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